Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 1 of 18




             EXHIBIT 6
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 2 of 18




                              Alexander Stewart, Ph.D.
                                 Professor of Music
                               University of Vermont

                                  December 8, 2017




Re: "Let's Get It On" and "Thinking Out Loud"




I am Professor of Music, Director of Latin American and Caribbean Studies, and Jazz
Studies Coordinator at the University of Vermont. I have contributed to numerous
peer-reviewed journals and other publications and I am author of a book published
by University of California Press. My work encompasses extensive music
transcriptions, musicological analysis, historical research, and other scholarly
activities, particularly in popular music. I earned a Ph.D. in Music (Ethnomusicology
Concentration) from the Graduate Center of the City University of New York (CUNY)
and a Master of Music in Jazz and Commercial Music from Manhattan School of
Music. During 2006-7 I was a Fulbright scholar researching traditional and popular
music in Mexico. As an active professional musician I have performed with leading
musicians in jazz and popular music for more than thirty years. I have provided
expert opinions and analysis on music copyright matters for over twelve years.

I have been asked to compare two songs: "Let's Get It On" (LGIO) performed by
Marvin Gaye and "Thinking Out Loud" (TOL) by Ed Sheeran. Recordings of these
songs were provided to me by Mr. Patrick Frank of Frank and Rice PA. I also
compared these songs with two live versions of TOL by Sheeran that I found on
YouTube, one of which includes an interpolation from "Let's Get It On."1 In addition,
after my initial comparisons, I reviewed reports by Dr. Lawrence Ferrara (undated)
and Mr. Anthony Ricigliano (dated April 7, 2015) that were also provided by Mr.
Frank.

As I will discuss in further detail below, I have found significant similarities between
the songs in question. In my opinion, these similarities can only be the result of
copying from "Let's Get It On."


1 TOL/LGIO: https://www.youtube.co m/watch?v= RxZjVZKVN 7k (accessed
5/30/2015) and TOL: https://www.youtube.com/watch?v=_9jTo_OFqzg (accessed
5/30/2015).
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 3 of 18

                                                                                    2


The following table outlines the general characteristics of "Let's Get It On" and
"Thinking Out Loud."

General characteristics
Song                         Key           Tempo (BPM)2          Length
LGIO (single version)        Eb major      —82                   4:02
LGIO (full version)          Eb major      —82                   4:51
TOL                          D major        79                   4:42
TOL (YouTube)                Db major       82                   4:48
TOL/LGIO (YouTube)           C major       —86                   5:52

As can be seen, LGIO and TOL are performed at nearly the same tempo, and can be
considered exemplar of rock or soul ballads. The key centers are also similarly
placed with the commercially-released version of TOL placed in the next lowest key
from LGIO (a half step or semitone below LGIO's key of E-flat major). Other live
versions of TOL are placed lower, in D-flat major and C major.

Form
LGIO (single version)
0:00-1:34     verse
1:34-2:19     bridge
2:19-3:05     verse
3:05-3:17     short bridge
3:17-4:02     verse

LGIO ("deluxe" or full version)
0:00-1:34    verse
1:34-2:19    bridge
2:19-3:05    verse
3:05-3:50    bridge
3:17-4:51    verse

TOL (studio version)
0:00-0:24    verse A
0:24-0:48    verse B
0:48-1:13    bridge/pre-chorus
1:13-1:43    chorus
1:43-2:07    verse A2
2:07-2:32    verse B2
2:32-2:56    bridge/pre-chorus
2:56-3:26    chorus
3:26-3:50    interlude (guitar solo)
3:50-4:42    chorus


2 BPM = beats per minute
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 4 of 18

                                                                                      3

While the above structural analysis seems to suggest that the forms of the songs are
different, it is important to note that the basic harmonic pattern and bass line
underlying most of these sections remains the same. In both songs the bridge and
pre-chorus are the only sections that depart significantly from this underlying four-
chord structure. In TOL, the differences between the A and B verses and choruses
are only in melodic pattern and lyrical content (and in the chorus, the use of a final
cadence).

I have labeled the eight-measure section beginning at 0:24 "verse B" because it
continues the same harmonic and underlying musical material as heard during the
first eight measures (verse A) and because, each time this section appears, like a
verse, it is set to different lyrics. The section beginning at 0:48 I have labeled a
"bridge/pre-chorus" because it obviously precedes the chorus. But because the
chorus in this song is set to the same harmonies as the verse (except for a final
cadence), this section also functions much like a bridge in that it separates and
provides harmonic contrast to two harmonically similar sections. While the
structures of the songs are not identical, other than this contrasting transitional
section (the "bridge" or "pre-chorus"), both songs are built almost entirely on a
virtually identical harmonic and rhythmic foundation. This content, heard
throughout the majority of both songs, forms a common musical bed on which other
melodic similarities are found.


Specific Musical Expression or Content

Methodology
To facilitate comparison, musicologists typically use transposition to place each
song in the same key. I have transposed all the following examples from LGIO to D
major (the key of the studio version of TOL). Further, in my analysis, following
standard musicological procedure, I have used numbers to represent the pitches of
the diatonic scale (1=D, 2=E, 3=F or F sharp, 4=G, etc.). In my analysis below, I will
occasionally use the integer "8" to indicate the first scale degree at a pitch level an
octave higher. Both songs occasionally deploy a "blue" third (a third degree of the
scale that ranges from minor to major, or somewhere in-between). The "blue third"
typically involves inflection that is difficult to represent in conventional Western
notation. Sheeran's melody includes a blue third in the very first measure and others
are sprinkled throughout. By the same token, numerous instances of major thirds
are heard in LGIO. Contemporary musicological research regards blue thirds
ranging from minor to major (and sevenths) as a single tonal area (toneme) rather
than as different scale degrees or than as a series of discrete pitches thereby
justifying the use of a single integer (3) to represent the entire spectrum of thirds.3


3 See, for example, Evans, David (1982). Big Road Blues, p. 24; Kubik, Gerhard. Africa
and the Blues (1999), p. 87, pp. 118-51 and Kubik, Gerhard. "Blue note," Grove Music
Online. Oxford Music Online. Oxford University Press, accessed December 7, 2017.
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 5 of 18

                                                                                     4

Foundation
LGIO and TOL rely on a strikingly similar foundation comprising melodic, harmonic,
and rhythmic elements. As can be seen below, the opening bass line of TOL and LGIO
are nearly identical. Melodically, the bass line leaps downward by a sixth before
ascending stepwise to the fifth degree of the scale. Example 1 provides the opening
bass lines of each song.

Example 1. Basic bass lines in LGIO and TOL (see also Ferrara Report)
         0:01
LGIO                                                        rs
          0:00
 TOL




In both songs, this melodic sequence can be characterized as 8-3-4-5-5. All of the
melodic notes contained in TOL are found in LGIO. The only differences are some
slight embellishments or "fills" heard at the end of each measure in LGIO. Indeed, as
both songs progress, varying embellishments can be heard while the underlying
pattern remains essentially the same.4 Dr. Ferrara's report states that "the basic bass
line in both songs is on scale degrees 1-3-4-5" [italics added]. As is standard in
musicological analysis, Dr. Ferrara's analysis engages in a degree of reductionism
(thereby confirming that all notes in a composition or in a melody are not equally
important or relevant to the analysis). The basic rhythm of these bass lines is
identical, with the pitches 3 and 5 anticipated or played before the third beat of the
measure. Further, the 5 is sounded twice in a syncopated fashion, on the "and" of
two and the "and" of three. Rhythmically this two-measure pattern could be counted
as" "ONE-and-two-AND-three-and-four-and-ONE-and-two-AND-three-AND-four-
    ,,
and.

Graphically these bass lines can be represented as:

Beat 1 + 2        + 3 + 4 + 1 +             2   + 3 + 4 +
LGIO D            F#        G                   A   A
TOL D             F#        G                   A   A

During the opening of TOL this downward leap from the upper tonic is especially
prominent and an important element of the melodic contour and contributes

4 When extrapolating core musical expression, slight variations or embellishments
among multiple variations are discounted. This is common practice in analyzing and
comparing music from folk songs to jazz and popular music in order to arrive at a
common or paradigmatic version and does not represent any attempt to distort the
analysis.
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 6 of 18

                                                                                          5


significantly to the melodic flow of the bass line and the underlying cyclical groove
(a large fall followed by a steady upward rise back to the first beat of the two-
measure pattern). Even when the bass guitar enters in TOL and plays the inverted
interval (an ascending third rather than a descending sixth), as depicted in the sheet
music, the bass line with the descending sixth continues throughout much of the
song.

Any assertion that a bass line can only be found in a bass instrument such as a bass
guitar is nonsensical. Bass lines can, of course, be placed on the low strings of the
guitar or in the left hand of a keyboard player. Polyphonic instruments such as these
are capable of playing multiple parts simultaneously including bass lines. As in this
report, Dr. Ferrara's preliminary report also refers to the bass line in the guitar part
of TOL as a "bass line."

The bass line, i.e. the lowest melodic part, at the beginning of TOL, when it is most
exposed, does have the descending sixth. This is the only bass part heard for the first
24 seconds. Because it is the beginning of the song it makes a lasting first
impression on listener. If the guitarist's aesthetic choice was to have an ascending
third instead of a descending sixth, he could have easily tuned the first string of his
guitar down one whole step and played the ascending line with the same chords.
The scardatura or alternate tuning for guitar known as "drop d" is extremely
common as illustrated in the numerous published instruction books and videos
available on-line explaining the simple procedure. Many well-known artists from
blues and folk to heavy metal and other popular styles have used this tuning and it
can be heard on some of the earliest commercial recordings from more than a
hundred years ago all the way to the present day. Even using conventional tuning,
the same chords can be played with the ascending third in the line from the open D
string (though the F#, G, and A would be sounded an octave higher). In any event,
the tuning of one of the guitar strings does not excuse copying the pitches, rhythms,
and metric placement. Because of all the other similarities, most listeners familiar
with "Let's Get It On" would undoubtedly recognize the similarity between the
musical expression in these two songs even without the descending sixth. The
composer of LGIO could have elected to use an ascending pattern as in most of the
"prior art" cited by Ferrara. TOL copies this more unusual creative choice heard in
LGIO.

The published sheet music for TOL shows the descending interval in the bass clef
throughout much of the song. When Sheeran performs the song live as a solo act
there is no bassist so this bass line is the only bass line heard throughout the entire
song. Moreover, during a live performance, the bass guitarist can be heard and seen
playing the descending sixth.5

The basic drum pattern in both songs is also virtually identical as can be seen in
example 2.

5 https://www.youtube.corn/watch?v=_9jTo_OFwg (accessed 5/30/2015).
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 7 of 18




Example 2.         Drums in LGIO and TOL
        0:01 j

LGIO



        0:24 j .
                                                                             ->4
 TOL
                         Si                        r                 7


The important elements of the drum parts in LGIO and TOL are the same. The bass
drum or "kick" is played on "one" with two syncopations or off-beat figures on the
"and" of two and the "and" of three, with an accented snare (or backbeat) on two
and four yielding the following rhythm: ONE-and-TWO-AND-three-AND-FOUR-
and-ONE-and-TWO-AND-three-AND-FOUR-and." The following chart graphically
represents the basic drum parts from both songs:6

      1              +   2    +   3   +    4   +   1   +    2    +       3   +     4   +
LGIOhhx              x   x    x   x   x    x   x   x   x    x    x       x   x     x   o
        S1:1             X                 X                X                      X
       bd X             X        X X               X             X           X     X
TOL hh x        x x x        x x      x        x   x   x    x    x       x   x     x   x?
       sn            X                X                     X                      X
       bd X             X        X                 X             X           X
hh=hi hat; sn=snare drum; bd= bass drum

One small difference is that the kick drum in LGIO doubles the snare on beat four.
The syncopation in the bass line is accentuated and reinforced by the kick drum. The
hi-hat (a double set of cymbals on a stand that can be opened and closed with the
foot) is set to steady stream of eighth notes. It is unclear in the recording of TOL
whether the hi hat occasionally is also sounded open on the last eighth of every
second measure as it is throughout much of LGIO. As can be seen, these drum parts
are for all practical purposes identical even though the drummers in both songs, as
would be expected, occasionally introduce slight variations in the form of accents or
omissions and add "fills" and embellishments. The combination of this drum part
with the bass line and harmonies provides a signature foundation for LGIO that is
immediately recognizable in TOL even with an ascending third in the bass line.




6 After the first measure, the hi hat is generally sounded on every eighth-note in
LGIO.
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 8 of 18

                                                                                                            7

Neither of the preliminary reports submitted by Dr. Ferrara and Mr. Ricigliano make
any mention of the drum parts in either song.

In my opinion, the distinctive combination of these bass lines and drum parts found
in LGIO and TOL, which are similar in every important detail, could not be a result of
independent creation and can only indicate copying. This musical expression forms
the core of both songs - the verses of LGIO and the verses and chorus of TOL.


Vocal Melody
The first melodic phrases heard in both songs are substantially similar. This phrase
and a slightly different variant are heard eight times in TOL where they form the
verse A making it one of the most frequently heard themes in TOL.

Example 3.      Opening themes of LGIO and TOL compared

                 D       FtImin                                                               A
         0:01

 LGIO
                                                                                              ••   •
                           I've     ben    real     -    ly    try                  in'       ba   -   by
         0:00    D        D/Fil                                            G                  A

 TOL
                                                                            •             •
                          When your legs    don't       work   like they   used to be - fore,


Example 3 compares the opening phrase in both songs. As can be easily seen, the
phrases are a similar length overlapping the bar line. They begin on exactly the same
beat (halfway between beats two and three - the "and" of two). Following standard
musicological procedure, the first phrase in each song can be converted to the
following pitch sequence:

LGIO    345432212
TOL     35653212361

The first phrase from LGIO contains eight syllables. Comparing the pitches to which
these syllables are set with those of the first eight of TOL yields a very similar
sequence:

LGIO    34543212
TOL     35653212

The only difference is that the three notes following the first pitch are raised by one
scale degree - 454 becomes 565. I will discuss this further below.
  Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 9 of 18

                                                                                    8


Another way to analyze this melodic sequence is to look at pitches that have
important structural functions.

LGIO    345432212
TOL     356532(1)23(6)1

I have placed two pitches in TOL in parentheses because melodically they function
as neighbor tones and/or because of their extremely brief duration and weak
rhythmic placement. Using this standard musicological technique, the melodic
sequence of TOL can be reduced to 356532231.

The following compares the basic opening melodic gestures of both songs.

LGIO    345432212
TOL     356532231

Once again, the main difference can be found in the second, third, and fourth pitches.
Each of these pitches is simply raised one step: from 454 to 565. Even with this
slight change the basic melodic contour remains unaltered.

As mentioned earlier, in terms of the rhythms, phrasing, and metric placement, the
phrases in example 4 also share significant similarities. Both begin on the same beat
(the "and" of two), straddle the bar line of the two-measure pattern repeated in the
bass line, harmony, and drums, and end in the middle of the second measure.

It is important to note that at the opening of each song this similar melodic
expression is set to similar harmonies and the same bass line and drum part. This
phrase forms the basic melodic motif of the "A" verses of TOL where it is heard a
total of eight times - at the very beginning of the song four times from 0:00-0:24 and
four times from 1:43-2:07. In "Let's Get It On," as the opening phrase, it is
undeniably one of the most memorable melodic figurations in the song.

Another important melodic figure heard in TOL is the motive repeated three times
at the beginning of each chorus (1:13; 2:56; and 3:50). Example 4 provides examples
of this theme from each song.
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 10 of 18

                                                                                                   9



Example 4.     TOL chorus melody

                              2:38
                D    Flknin          G                        A

LGIO

                          If you     be- Iicvc           in   love,      let's   get    it on. _
                                                 1:16
                      D/FIl                                   A

 TOL                                                     .7       - ar
                                                                         3
                                                        Take me in - to your lov - in' arms




As can be seen, after beginning on 3, the melody in each song features repeated
notes descending from 5 to 3 with a penultimate note on 2 before the final 3. The
basic melodic movement then is 354323.

LGIO 35443333123
TOL 35554443323

Variants of this passage can also be heard in LGIO at 0:17 and 3:38. Once again, it is
important to note that these melodies are placed over similar bass parts, drum parts,
and chords. Like the phrase in example 3, this is one of the most important musical
themes in TOL where it is heard a total of nine times during the three choruses.



A final melodic comparison looks at the vocables (non-lexical syllables such as "la,
la, la") at 3:35 during the interlude section of TOL. The guitar echoes this figuration
four measures later at 3:47. This passage shares significant similarities with one of
the most memorable phrases heard in LGIO.

As in the earlier examples, it is also important to consider the context of these
melodic similarities - their setting to nearly identical chords, bass parts, and drum
parts. Sheeran himself quotes this passage from LGIO when he goes into "Let's Get It
On" during a live performance of "Thinking Out Loud"
[https://www.youtube.com/watch?v=RxZjVZKVN7k (accessed 5/30/2015)].
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 11 of 18

                                                                                                                                                                         10


Example 5. Important phrase from LGIO compared with interlude of TOL and
Sheeran performance of TOL that interpolates LGIO during interlude
                                                                                              0:48
                                        F                                                                               A

       LGIO
                                                                                                                        •1                7 /: 07 :77           7
                                                                                                     We're all                              sen - si - tive peo -
                  3:35
                                                                                                                        A

        TOL


                                                         La, la,       la,     Ia.     la,     la,      la,       Ia,   la,         la,    la,   Is,
                  4:51
                                        DiF#                                                                            A
TOL/LGIO
  Sheeran
     Live


                       D                    F#-7                                                                            A

 L610
                                                    •                                  •
                  in
              -          pie                   with so                much             to      give. ____                                                  un - der -
                  D                         D/Flt                                 G                                     A

 TOL
        4 kr "-i)              /             z
                                            Doi
                                                          /
                                                         ____.3 ___
                                                                                   /
                                                                                   G
                                                                                                                  z
                                                                                                                            A
                                                                                                                                          z            /

 TOL
LGIO                                                                                                              IIP
                   give_                                       on - der - Stan - ding                         Su - gar



                  D                     F4-7                                  CG                                        A

 LG10
                                                                                                                              ionl.               :7             7    : —-
              stand - ing          Sug - ar,                                                                                since         we got _         to          ba:—.
                                           Din                                                                          A

 TOL
                                                                             1 dr7           —'Th             -
                                                              •
                                                         guitar
                  D                                                                                                     A
                                                                  3                    3
 TOL
LGIO
                                              fl
                                            We're all_
                                                                              0-7
                                                              sen - si - five pee - ple                                                                         sing - in'



This passage, like the passage in example 4, consists of repeated notes on a
descending scale.

LGIO                 88778776535165
TOL                  8887776665553
TOL (guitar)         88887776665555
LGIO (Sheeran 1st x) 887876135376
LGIO (Sheeran 2nd x) 8878776
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 12 of 18

                                                                                       11




One of the most telling aspects of this interpolation of "Let's get It On" is the
structural placement Mr. Sheeran has chosen. He extends the interlude where the
guitar solo appears in the studio version, and, instead of singing the "la, la, la's," in
example 5 he sings the "we're all sensitive people" phrase notated above, not once,
but twice, before returning to the chorus of TOL. He has, in effect, replaced his
phrase with this phrase exactly where the vocables ("la, la, la," etc.) appear in TOL,
immediately before the return of the final chorus. He has substituted Marvin Gaye's
phrase for his own. Moreover, he has also moved the phrase to almost a measure
earlier in order to closely match the placement of his "la la la" and guitar phrases
over the underlying harmony, bass line, and drum pattern. I find not only the
similarity but also the placement of these phrases in the overall structure
(interlude) and similar shift over the harmonies in this performance to be
compelling evidence of copying.


Harmonies
As conceded by Dr. Ferrara in his undated report, "Both songs use a similar (but not
identical) chord progression in the same harmonic rhythm of two chords per bar in
which the second and fourth chords are anticipated (i.e., they occur on the second
half of beat 2)."

The basic harmony could be described as

LGIO I iii IV V
TOL I 1/3 IV V

Actually, in the beginning of TOL when only the guitar is sounded, because the
harmony is thinner, the second chord could easily be heard as an F-sharp minor
chord because the pitch D is absent in the vertical sonority.

LGIO          I iii IV V
TOL (opening) I iii IV V

The only difference in the basic harmony in much of the rest of the song is a detail of
the closely related second chords, in TOL a D major chord with F# in the bass
(D/F#) rather than F# minor. In fact, these chords are virtually interchangeable and
both typically function as tonic chords.' The different note in this chord, a "D"
instead of C#, does not significantly alter its sound and I doubt that many listeners
would notice the difference. As Dr. Ferrara notes, there are multiple variations

7 Chords are said to be closely related when they share many of the same pitches. In
diatonic harmony, the roots of such chords are usually a third apart, as they are
here, F# minor and D. These chords also share the same tonic function. Indeed, the
iii and I chords are frequently considered interchangeable.
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 13 of 18

                                                                                          12


found within the four-chord progression, and examples of 5-chords (chords without
a third), 7th chords, and suspended 4th chords are also found.

Additionally, the many instances if D's in the melody of LGIO over the second chord
could justify thinking of the second harmony of LGIO as a tonic chord or Dmaj7/F#
or I mai 7iiii.

Bridge/pre-chorus
The musical bed on which both songs lie is mostly built from the basic four-chord
progression outlined in the above section. Indeed, the only significant departure
from this pattern occurs during the bridge of each song when they both move to
chords with a sub-dominant function. The opening chords of the bridges are closely
related (E minor7 or ii7 in TOL and G major or G7 or IV in LGIO).8

These sections involve similar movement to harmony built on the supertonic or
second degree of the scale (E minor in TOL and E7 in LGIO) and the dominant or A
(ii-V and II7-V, respectively).9

Despite all these similarities, I should also note by way of difference that the two
measures containing the words "we found love right where we are" in TOL are set to
different harmony that is not found in LGIO.

I do not find significant differences in the modal qualities of these songs. While LGIO
may have a somewhat more blues inflected vocal, both songs employ inflections on
various pitches of the scale (especially the third degree) and as can be seen in
example 2, Sheeran's melody contains "bent" notes that include F-natural as well as
F-sharp. The sheet music to TOL contains blue thirds as can be seen in measures 36,
39, 40 (notated as e-sharps). By the same token, major thirds are abundant in
Marvin Gaye's vocal melody — indeed his very first note is a major third (F-sharp).
Both songs are built on major tonalities and, I have discussed above, contemporary
scholarship regards blues tonality as involving a third degree that is variable in
pitch.

Lyrics
While, like Dr. Ferrara, I have found few important lyrical similarities, I believe he
somewhat exaggerates the differences when he states: "the lyrics in let's' are about
immediate sexual attraction, while the lyrics in 'Thinking' are about long-term romantic
love" (undated Ferrara report). Despite LGIO's more overt sexuality, TOL also contains
sexual and erotic overtones. (For example: "Will your mouth still remember the taste of
my love?") Further, the lyrics to Gaye's song repeatedly emphasize romantic love "If
you believe in love....", "We're all sensitive people with so much to give...", "I love you",

8 Once again, these chords are a third apart, E and G. They also share the same sub-
dominant function and the ii and IV chords are considered practically
interchangeable.
9 In the sheet music of TOL these chords are given as E minor7 and A7.
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 14 of 18

                                                                                                13

"...if the love is true..." In the end, both ballads are celebrations of love to a particular
woman. The main difference would be, then, that the attraction in TOL seems to have
been consummated while the singer in LGIO is still yearning for fulfillment.


So-called "prior art"

Dr. Ferrara's undated report mentions ten songs that he claims pre-date LGIO that
contain similar harmony. As outlined above, the similarities in LGIO and TOL are
found in much more than just the harmony. In my preliminary investigation I have
examined all of these works and found none that contain the bass line and drum
part at issue in this matter (much less the other expression described in this report).
Moreover, it will be obvious to any listener that none of these songs sound anything
like LGIO and TOL.

It is important to note once again that, in his preliminary report, Dr. Ferrara himself
referred to "the bass line" in the guitar heard at the beginning of TOL as containing
the descending interval and noted its similarity to LGIO. He writes:

       "the first iteration of the bass line in 'Thinking' has a leap down from
       1 to 3 that is similar to "Let's." (Ferrara, Undated Report, p. 4).

Clearly, TOL contains both bass lines, the descending sixth and the ascending third.
In my expert opinion, the descending pattern is prominent in TOL because of its
exposure at the beginning of TOL.

Bass line characteristics in common between LGIO and TOL (in guitar)
13 4 5
two-measures
descending sixth
anticipation of 3 and 5
syncopation

In fact, the only example in which the second and fourth chords are anticipated (the
Diaz version of "Georgy Girl") does not contain the descending sixth of the bass line
heard in LGIO and TOL and the percussion part is nothing like the drum parts in
LGIO and TOL. Moreover, it stretches credulity to the breaking point to suggest that
this apparently obscure Mexican bandleader's cover version of a 1960s pop song
(that, in any version, sounds nothing like either song in this case) could have had
much influence beyond his own backyard.
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 15 of 18

                                                                                14


Example 6.           "Georgy Girl" Diaz version

          0:06

Bass


                                  Emin                F       G


            r- ro                                     r.      7
Perc     Hi : I F                                 r
The only examples among the works mentioned by Dr. Ferrara that feature a
descending sixth in the bass line with any frequency are Donovan's "Hurdy Gurdy
Man" and Holly's "True Love Ways." But in these songs, none of the chords are
anticipated and, once again, the drum part is completely different. Moreover, in
"Hurdy Gurdy" the bass part contains many extra notes, including the repeated tonic
before the downward leap at the beginning. Neither of these examples have any
syncopation whatsoever.

Example 7.           "Hurdy Gurdy Man" Donovan

              1:05


       Bass   "      F t


                                         Bmin
                                         O                        0



Drum Set
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 16 of 18

                                                                                  15


Example 8. "True Love Ways" Buddy Holly

        0:03

 Bass   9:[7,       r
                    8b              Dmin          Eb

                                     0            0



Drum
  Set
                         J- 7

Of the two songs mentioned by Dr. Ferrara in his undated report that post-date LGIO
but pre-date TOL, only Lionel Richie's "Do It To Me" contains anticipated second and
fourth chords. While the bass line also contains a descending sixth, as can be seen
                                                            in
below, there is little or no syncopation and the drum part is a completely different
style (sixteenth-note based subdivision) and bears no resemblance to the drum part
in LGIO and TOL


Example 9.      "Do It To Me" Lionel Richie


 Bass


                C           Emin7                FMaj7




Drum
  Set




In summary, none of the works cited by Dr. Ferrara contain substantial similarities
to the songs at issue in this matter. None of these songs sound anything like the
songs at issue in this matter. LGIO and TOL are far more similar to each other than
any of these songs are to either of them.
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 17 of 18

                                                                                       16




Conclusions

The evidence in this report points conclusively toward the creator(s) of "Thinking
Out Loud" having copied important musical expression from the song "Let's Get It
On." This unauthorized taking accounts for the foundation, groove, and core musical
expression of both songs and, by itself, constitutes a violation of the artistic integrity
of the original song. Striking similarities include the bass melody, drum parts, and
harmonies in aggregate. Ontologically, the bass part heard prominently in the guitar
at the beginning of TOL must be considered a bass line, as acknowledged by
defendants' own expert in his initial report. At the risk of restating the obvious, a
bass line can be played on any instrument capable of playing low notes and can be
played simultaneously with other parts on instruments capable of polyphony
(multiple parts) such as guitars or keyboards. Bass lines are frequently assigned to
the lower strings of the guitar or the lower range of a keyboard. Moreover,
important melodic vocal expression in TOL is also similar that in LGIO. The opening
melodic phrase in both songs is important to both songs and is substantially similar
(example 3) in pitch sequence, phrasing, contour, and placement. The repeated
phrase in the chorus of TOL is substantially similar to an important phrase in LGIO
(example 4). A melody set to vocables and in the guitar during the interlude of TOL
is substantially similar to one of the most memorable phrases of LGIO ("We're all
sensitive people..." (example 5). Sheeran himself quotes this passage from LGIO
twice in a live performance and places the phrases in almost exactly in the same
place as his similar phrase. The structural placement in the overall form and slight
shift in setting over the four-chord groove further confirms his awareness of the
similarity of this expression in LGIO and TOL. In a nearly five-minute song, this
cannot be the result of coincidence. All these melodies share phrasing, contours,
rhythms, and basic pitch sequences. In combination with the harmonies, bass line,
and drum parts, this expression reveals that much of TOL has been derived from
LGIO.
 Case 1:17-cv-05221-LLS Document 67-6 Filed 07/27/18 Page 18 of 18

                                                                                   17




Other matters

My C.V. contains all pertinent information about my publications and an attached
document to this report lists my testimony in other cases over the last four years. I
reserve the right to supplement or amend this report in light of any additional
material with which I am provided. I am being compensated at the rate of $275 per
hour for the study of this matter and $575 per hour (four-hour minimum), plus any
related travel time and expense, for trial testimony and deposition.


Respectfully submitted,



Alexander Stewart, Ph.D.
Professor of Music
University of Vermont
